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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

James Degorski,                               )
                                              )
              Plaintiff,                      )         No. 1:23-CV-04921
                                              )
       v.                                     )
                                              )         Judge Edmond E. Chang
Rob Jeffreys, individually; Jose Becerra,     )
individually; Lusecita Galindo, individually; )
David Gomez, individually as Warden of        )
Stateville Correctional Center; Charles       )
Truitt, individually as Warden of Stateville )
Correctional Center; Ambrosio Vergara;        )
Aaron Durham; Unknown Stateville              )
Cadette;                                      )
                                              )
              Defendants.                     )

                         MEMORANDUM OPINION AND ORDER

      James Degorski brings this civil rights lawsuit, 42 U.S.C. § 1983, against var-

ious Illinois prison officials: Rob Jeffreys, Jose Becerra, Lusecita Galindo, David

Gomez, Charles Truitt, Ambrosio Vergara, Aaron Durham, and an Unknown Stat-

eville Cadette. R. 65, First Am. Compl.; R. 100, Second Am. Compl.1 Degorski claims

that the Defendants were deliberately indifferent to his serious medical needs arising

from a severe wrist injury. First Am. Compl. at 15–16; Second Am. Compl. at 15–16.

Three of the prison officials—Charles Truitt, David Gomez, and Rob Jeffreys—move

to dismiss the claims against them, arguing that they cannot be held vicariously




      1Citations to the record are noted as “R.” followed by the docket entry and, if needed,

a page or paragraph number. The Court has subject matter jurisdiction over this Section
1983 lawsuit under 28 U.S.C. § 1331.
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liable for the quality of medical care provided to Degorski. R. 90, Defs.’ Mot. For the

reasons discussed in this Opinion, the motion is denied.

                                     I. Background

       In deciding a motion to dismiss, the Court accepts all well-pleaded factual al-

legations in the Complaint as true and draws all reasonable inferences in the plain-

tiff’s favor.2 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)); Erickson v. Pardus, 551 U.S. 89, 94 (2007).

Degorski was an inmate at Stateville Correctional Facility. First Am. Compl. ¶ 4;

Second Am. Compl ¶ 4. In July 2021, with summer at full steam, the housing unit

was extremely hot. Degoriski woke up one morning sleep-deprived and disoriented

and then fell off his top bunk onto the concrete floor. First Am. Compl. ¶¶ 16–18;

Second Am. Compl. ¶¶ 16–18. The fall shattered multiple bones in Degorski’s left

hand and bruised his hip, knee, and toes. First Am. Compl. ¶ 19; Second Am. Compl.

¶ 19. Hours later, he received medical attention from a doctor, who recommended

that Degorski return to the doctor’s office within a week to schedule a surgery to

repair his hand. First Am. Compl. ¶ 20; Second Am. Compl. ¶ 20. In the interim,

Degorski was housed in Stateville’s sweltering infirmary unit, which was infested

with cockroaches and gnats. First Am. Compl. ¶¶ 21, 23; Second Am. Compl. ¶¶ 21,




       2The operative complaint is now the Second Amended Complaint. At the time that

this motion was briefed, the operative complaint was the First Amended Complaint. The par-
ties agreed that the briefing on this motion did not substantively change with the filing of
the Second Amended Complaint. See R. 101, Joint Status Report; R. 102, Minute Entry. So
this Opinion cites to paragraph numbers from both pleadings.
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23. Before receiving surgery one month later, Degorski felt shooting pain in his arm

and could not move his fingers. First Am. Compl. ¶¶ 21, 28; Second Am. Compl. ¶¶ 21,

28. According to Degorski, the month-long delay between the injury and the surgery

required him to have a more painful and intensive operation. First Am. Compl. ¶ 29;

Second Am. Compl. ¶ 29.

      After the surgery, Degorski continued to experience shooting pain, swelling,

numbness, and difficulty with moving his hand and fingers. First Am. Compl. ¶¶ 31,

33; Second Am. Compl. ¶¶ 31, 33. Many times over the next eight months, he did not

receive his prescription pain medication when various Defendants ran out of the med-

icine or forgot to order it. First Am. Compl. ¶¶ 30, 35, 37; Second Am. Compl. ¶¶ 30,

35, 37. Degorski filed multiple grievances about the Defendants’ failures to provide

medical care to his wrist and to administer the pain medication. First Am. Compl.

¶ 38; Second Am. Compl. ¶ 38. When his pain and problems with hand mobility con-

tinued, Degorski spoke with a nurse practitioner about having a follow-up appoint-

ment. First Am. Compl. ¶ 39; Second Am. Compl. ¶ 39. Although the nurse acknowl-

edged that Degorski needed follow-up care, 72 days passed before he was brought to

the nerve clinic, where a doctor evaluated his hand and recommended a second sur-

gery. First Am. Compl. ¶¶ 39, 43–44; Second Am. Compl. ¶¶ 39, 43–44. After an eight-

month delay by prison officials in approving and scheduling the surgery, he finally

underwent surgery in August 2022. First Am. Compl. ¶¶ 41, 48, 50; Second Am.

Compl. ¶¶ 41, 48, 50.



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                               A. The Lippert Report

      In the Complaint, Degorski goes beyond making allegations specific to his own

experience; he also sets forth various findings from an expert report issued in 2018

that was completed by a team of court-appointed experts in Lippert v. Baldwin, a case

that dealt with the inadequacy of healthcare services at IDOC facilities. First Am.

Compl. ¶ 53; Second Am. Compl. ¶ 53; (citing Lippert v. Baldwin, 2017 WL 1545672,

at *1 (N.D. Ill. Apr. 28, 2017)). Degorski alleges that the Lippert experts uncovered

numerous “breakdowns in every area” in Wexford’s (the prison’s health provider) pol-

icies and practices at Stateville, such as inadequate medical staffing, issues and de-

lays with medical-record use and filing, the failure of nurses to follow treatment pro-

tocols, unreliable tracking of specialty care logs, and an unsafe patient medication-

administration system. First Am. Compl. ¶ 53; Second Am. Compl. ¶ 53.

      Due to the allegedly inadequate medical care he received, Degorski sued vari-

ous prison officials, including the three Defendants who have filed the motion to dis-

miss. First Am. Compl. at 15–19; Second Am. Compl. at 15–19. Defendants Jeffreys,

Gomez, and Truitt move to dismiss the deliberate-indifference claims against them

for failure to adequately state a claim. See Defs.’ Mot.; Fed. R. Civ. P. 12(b)(6).

                                  II. Legal Standard

      Under Federal Rule of Civil Procedure 8(a)(2), a complaint generally need only

include “a short and plain statement of the claim showing that the pleader is entitled

to relief.” Fed. R. Civ. P. 8(a)(2). This short and plain statement must “give the de-

fendant fair notice of what the claim is and the grounds upon which it rests.” Bell Atl.

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Corp. v. Twombly, 550 U.S. 544, 555 (2007) (cleaned up).3 The Seventh Circuit has

explained that this rule “reflects a liberal notice pleading regime, which is intended

to ‘focus litigation on the merits of a claim’ rather than on technicalities that might

keep plaintiffs out of court.” Brooks v. Ross, 578 F.3d 574, 580 (7th Cir. 2009) (quoting

Swierkiewicz v. Sorema N.A., 534 U.S. 506, 514 (2002)).

       “A motion under Rule 12(b)(6) challenges the sufficiency of the complaint to

state a claim upon which relief may be granted.” Hallinan v. Fraternal Order of Police

of Chi. Lodge No. 7, 570 F.3d 811, 820 (7th Cir. 2009). “[A] complaint must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible

on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (cleaned up). These allegations

“must be enough to raise a right to relief above the speculative level.” Twombly, 550

U.S. at 555. The allegations that are entitled to the assumption of truth are those

that are factual, rather than mere legal conclusions. Iqbal, 556 U.S. at 678–79.

                                       III. Analysis

       The three Defendants at issue argue that Degorski’s claim against them must

be dismissed because they cannot be held vicariously liable for the quality of medical

care provided to Degorski.4 R. 91, Def.’s Br. at 4–6. During the relevant time, Truitt

and Gomez were Wardens at Stateville (at separate times), and Jeffreys was the


       3This opinion uses (cleaned up) to indicate that internal quotation marks, alterations,

and citations have been omitted from quotations. See Jack Metzler, Cleaning Up Quotations,
18 Journal of Appellate Practice and Process 143 (2017).

       4The Defendants’ partial motion to dismiss does not target Degorski’s claim against

the three of them for the prison’s alleged inhumane conditions of confinement.

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Director of the Illinois Department of Corrections (commonly referred to as the

IDOC). First Am. Compl. ¶¶ 7–8; Second Am. Compl. ¶¶ 7–8. The three Defendants

assert that they did not have any personal involvement in the provision of medical

care at Stateville. Defs.’ Br.. at 5.

       The Eighth Amendment protects inmates against a lack of medical care that

“may result in pain and suffering which no one suggests would serve any penological

purpose.” Estelle v. Gamble, 429 U.S. 97, 103 (1976). Negligence is not enough to state

a claim: liability requires “more than ordinary lack of due care for the prisoner’s in-

terests or safety.” Farmer v. Brennan, 511 U.S. 825, 835 (1994) (cleaned up). To win

on a claim for deficient medical care, the inmate must show an objective element and

a subjective element: (1) an objectively serious deprivation; and (2) the official’s sub-

jective deliberate indifference to the condition. Johnson v. Snyder, 444 F.3d 579, 584

(7th Cir. 2006); Petties v. Carter, 836 F.3d 722, 729 (7th Cir. 2016).

       The statute that provides the vehicle for bringing a deliberate-indifference

claim under the Eighth Amendment is 42 U.S.C. § 1983. Under that law, inmates

have a cause of action only against prison officials who personally participated in the

alleged constitutional violation. Vance v. Peters, 97 F.3d 987, 991 (7th Cir. 1996). In-

mate cannot base a § 1983 claim on a theory of respondeat superior liability, that is,

liability based solely on the supervisory role of a defendant. Sanville v. McCaughtry,

266 F.3d 724, 740 (7th Cir. 2001). Instead, Degorski must establish (or at the pleading

stage, adequately allege) that Jeffreys, Truitt, and Gomez were “personally responsi-

ble for the deprivation of a constitutional right.” Johnson, 444 F.3d at 583.
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      To adequately allege personal involvement for deliberate indifference, Degor-

ski must allege that Jeffreys, Gomez, and Truitt “actually knew of and disregarded a

substantial risk of harm.” Petties, 836 F.3d at 728. But Degorski need not allege that

the medical treatment was intentionally inadequate or that the Defendants “in-

tended, hoped for, or desired the harm that transpired.” Walker v. Benjamin, 293 F.3d

1030, 1037 (7th Cir. 2002) (cleaned up). Nor does Degorski need to show that he was

completely ignored by Jeffreys, Truitt, and Gomez. Greeno v. Daley, 414 F.3d 645, 653

(7th Cir. 2005). The test is whether the Defendants disregarded a serious risk of

harm. With these principles in mind, first up is Jeffreys as the Director of the IDOC,

and then Truitt and Gomez as Wardens of Stateville.

                             1. IDOC Director Jeffreys

      Under Section 1983, supervisory officials may only be held liable for conduct

absent direct personal participation if they allegedly “know about the conduct and

facilitate it, approve it, condone it, or turn a blind eye for fear of what they might

see.” Jones v. City of Chicago, 856 F.2d 985, 992 (7th Cir. 1988). Degorski alleges that

IDOC Director Jeffreys was personally aware of the Lippert report findings and did

not take reasonable steps to ensure that adequate care was provided. First Am.

Compl. ¶ 54; Second Am. Compl. ¶ 54. He claims that Jeffreys “approved, condoned,

facilitated, or turned a blind eye” to the systemic problems that affected Degorski and

denied him constitutionally adequate care. T.E. v. Grindle, 599 F.3d 583, 588 (7th

Cir. 2010); R. 92-1, Pl.’s Resp. at 5. Degorski also maintains that Jeffreys was person-

ally aware of his grievances about the failures to deliver care because Jeffreys

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generally received prisoner grievances—including Degorski’s. First Am. Compl. ¶ 54;

Second Am. Compl. ¶ 54.

      Taking Degorski’s allegations as true, Jeffreys knew about the Lippert report’s

findings, which spelled out Stateville’s systemic medical-care flaws, including the

lack of adequate medical staff. First Am. Compl. ¶¶ 53–54; Second Am. Compl.

¶¶ 53–54. Indeed, as Director of the IDOC, it would be surprising if Jeffreys had not

read the Lippert report. As the IDOC Director, Jeffreys had a responsibility to address

the alleged medical-care deficiencies in general and to review appeals of inmate griev-

ances specifically. 20 Ill. Admin. Code § 504.850(e) (“The Director shall review the

findings and recommendations of the Board and make a final determination of the

grievance within six months after receipt of the appealed grievance, when reasonably

feasible under the circumstances. The offender shall be sent a copy of the Director’s

decision”). Given the alleged awareness of the report’s findings and the alleged failure

to take steps to resolve the problems—including the problems that would specifically

cause the medical-care delays that Degorski experienced—the pleadings adequately

allege that Jeffreys was deliberately indifferent to Degorski’s serious medical needs

and did not reasonably respond to the gaps in care. Johnson, 444 F.3d at 584; Petties,

836 F.3d at 729.

      It is true that an inmate cannot simply gesture generally and vaguely to the

Lippert report and blame Director Jeffreys for every medical-care failure as a product

of deliberate indifference under the Eighth Amendment. But Degorski’s Complaint is

much more specific. In the Complaint, Degorski specifically identified what in the
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Lippert report was relevant to the harm that he suffered. Degorski pointed to the

findings on Stateville’s inadequate staffing of medical personnel, medical record gaps,

and an unsafe patient medication-administration system. First Am. Compl. ¶ 53; Sec-

ond Am. Compl. ¶ 53. These deficiencies led to the harm that Degorski suffered: the

long delays in performing surgery and the repeated failures to give him pain medica-

tion. First Am. Compl. ¶¶ 30, 35, 37, 41, 48, 50; Second Am. Compl. ¶¶ 30, 35, 37, 41,

48, 50. All in all, Degorski has pleaded concrete facts that adequately allege that Jef-

freys was deliberately indifferent to Degorski’s medical needs.

      The Court notes that it certainly is possible that—in discovery—Jeffreys will

demonstrate that he reasonably responded to the risks in medical care. In Farmer v.

Brennan, the Supreme Court held that even if prison officials know of a substantial

risk to inmate health or safety, they “may be found free from liability if they re-

sponded reasonably to the risk, even if the harm ultimately was not averted.” 511

U.S. at 844 (emphasis added). If discovery shows that Jeffreys reasonably attempted

to respond to Stateville’s systemic medical-care problems, then summary judgment

could be appropriate. At this pleading stage, however, Degorski has successfully al-

leged a deliberate-indifference claim against Jeffreys.

                          2. Wardens Truitt and Gomez

      Gomez and Truitt were Wardens of Stateville during relevant (but separate)

times, and these two Defendants also seek dismissal of the deliberate-indifference

claims for lack of personal involvement. Defs.’ Mot. at 1. Degorski bases his claims

against Truitt and Gomez on both their involvement with the medical-care auditing

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process and the Lippert Report. First Am. Compl. ¶¶ 56, 57; Second Am. Compl.

¶¶ 56, 57.

      First, Degorski alleges that Truitt and Gomez were members of IDOC’s medi-

cal-care audit committee, the Committee for Quality Improvement. First Am. Compl.

¶ 56; Second Am. Compl. ¶ 56. Based on their membership on the Committee, they

had a duty to “review inmate grievances with regard to medical care, investigate the

quality and appropriateness of care, and identify and solve problems in order [to]

improve care.” First Am. Compl. ¶ 56; Second Am. Compl. ¶ 56. And beyond the Com-

mittee membership, Degorski alleges that the two former Wardens also knew about

the Lippert report and its findings.

      In combination, these allegations give rise to the reasonable inference that

Truitt and Gomez knew that inmates were not receiving adequate medical care (and

the specific grounds for that conclusion) and failed to take steps to ensure that in-

mates, including Degorski, received necessary medical services. First Am. Compl.

¶ 57; Second Am. Compl. ¶ 57. The Committee membership might have been insuffi-

cient on its own because there is no allegation that Truitt and Gomez directly learned

through the Committee about Degorski’s specific medical-care delays. The Complaint

does not allege that the Committee dealt with deficiencies in specialty care and med-

ications not being delivered.

      But Degorski also alleges that Gomez and Truitt knew about the Lippert re-

port, which directly links them to the harm that Degorski suffered. Here, he claims

that Truitt and Gomez knew that inmates were not receiving adequate medical care
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and failed to take steps to ensure that inmates, including Degorski, received neces-

sary medical services. First Am. Compl. ¶ 57; Second Am. Compl. ¶ 57. And it is plau-

sible that Gomez and Truitt knew about the systemic problems that led to specific

harm to Degorski. As Wardens of Stateville, it is plausible that they would have been

aware of inadequate medical staffing and unsafe patient medication administration.

First Am. Compl. ¶ 53; Second Am. Compl. ¶ 53. The problems identified by the Lip-

pert report had been identified before 2021, when the events of this case happened.

First Am. Compl. ¶ 58; Second Am. Compl. ¶ 58. Yet the problems at Stateville per-

sisted. For now, at the pleading stage, the Court must credit the allegation that Truitt

and Gomez ignored the risks and thus were deliberately indifferent to Degorski’s se-

rious medical needs. Again, like with Director Jeffreys, the former Wardens might

have reasonably responded to (but not solved) the gaps in medical care, but this is

the pleading stage.




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                                  IV. Conclusion

      The Defendants’ motion to dismiss, R. 90, is denied because Degorski has plau-

sibly alleged that they were deliberately indifferent to his serious medical needs.


                                                     ENTERED:

                                                           s/Edmond E. Chang
                                                     Honorable Edmond E. Chang
                                                     United States District Judge

DATE: March 27, 2025




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